    '


Case 3:17-cv-00072-NKM-JCH Document 433-2 Filed 02/28/19 Page 1 of 1 Pageid#: 4119
                                                                                                              l
                            1)                    ,.           . t               . u.w..... ku7o-kpx) .                         ' .' ,7 '
                                                                                                                                        :1'.G .' -'                      7.r. K'
                                                                                                                                                                               ..
                                                                                                                                                                                1 <                   ..
                                                                                                                                                                                                      .            >' > t
                                                                                                                                                                                                                   .                              '.' ' . .-' -                               ' û'.
                                                                                                                                                                                                                                                                                                  ';
                                                                                                                                                                                                                                                                                                   xt..

                                         j>.S
                                            k..)>-                     . ..                                                    - . . w '. .                      .           . ... '              .          . :.                    .                                                       ws-W ''
                                                                                                                                                                                                                                                                                                   r'
                  7             .         .
                                                                                                                                                                                                                                                 . :.' ' '
                        ' ..         .                   : Ex
                                                            .. tzem ely Urgent ' '                                        '.                .                 ''rhisenvelcpe.isforu5ewi lhthefollowingservic'es : UPSNextBay. N i' ' '                                                            '
                            5k                            . .' .. ; ' .. '',.. ..                             .                                                                       .                       .
                                                                                                                                                                                                                  jjjqwoljjwjg*apjussw
                  1                           .          ..        .... .                .
                                                                                             .   .
                                                                                                                  ' ...
                                                                                                                   .a..                                 .                                  .
                                                                                                                                                                                                                                .    UP52ndDayAir:                                   '
                  $                                                         .'                       .                                                                                                                     .                               .                              j
              '
                  !            '
                                   . Vi
                                      si
                                       ttll
                                          etl
                                            psstelmteïrl0rcal,
                                                             lr800-PICK-I
                                                                        lP5*.
                                                                            0-800-
                                                                                 742-5877)                                                          '                                                 .            .> Applysl
                                                                                                                                                                                                                            gpping.                            .                         j
                                                                                                                                                                                                                                                                                         f        '.r
                                            totiildalocatinnnearpu,                                       .                     .                                    '.           '               '                '           '         '                     -=                    !.               '
                  l         '               pomestkslllpmeaa. '''...'       ..' '   ''           I
                                                                                                     ''                                 '                           '        '.                          .
                                                                                                                                                                                                                   . 'Dt
                                                                                                                                                                                                                       jxl-
                  :            ' '1@quahl/f0
                                           ret
                                             eLeqeln
                                                   dl
                                                    eUPSE
                                                        xpre:
                                                            sEnv
                                                               ile
                                                                 pesns:
                                                                      /ngl
                                                                         kcOûl
                                                                             n                                                          -..
                                                                                                                                          2
                                                                                                                                          .n.... ' (..'--.'''
                                                                                                                                                            .-
                                                                                                                                                             '.'-'
                                                                                                                                                                 -   .                    .         ..
                                                                                                                                                                                                             '
                                                                                                                                                                                                             -l                 uiet
                                                                                                                                                                                                                                   hl
                                                                                                                                                                                                                                    s(                 a
                                                                                                                                                                                                                                                       R                             jj                    .
                                                  ..                        .        .                                        îzeasFRtnEalcK sr                                               '              r                                                                       :I               .
                         '                Kteraaqenblj.Ipmiau.'r. .                  .. . 'v' '.,j.NQRC*J.V'LLEY,.CA3:553                                                                                    l     pPs.N/orldyvlde!.       !i **1::) j41       l
                  1
                  ï                       'llle
                                              uUe  P5FereqEqielepemaybeu&edonly4(1d/cumentscfflacommen' ' '         ' '' '                                                   ''           (.                 1 .''      .' '      ! *-** Y
                                         . va l                                                                                                                                                                                            au X -..:;*'
                                                                                                                                                                                                                                                      1'-
                                                                                                                                                                                                                                                        Jll
                                                                                                                                                                                                                                                          j ,' j
                                                                                                                                                                                                                                           .u
                  1                        to   c-ecmer
                                                      ru
                                                       ta
                                                        pi
                                                         na
                                                         pcr
                                                           e
                                                           qx
                                                           t
                                                           enp
                                                             tr
                                                              le
                                                              cstc
                                                               r
                                                               t aov
                                                                   r
                                                                   sf
                                                                   ederi
                                                                    r
                                                                    w  ep
                                                                       flec
                                                                          vtos
                                                                          u  n
                                                                             hl
                                                                              c
                                                                              ime
                                                                              pmau
                                                                                 nti
                                                                                   satsl
                                                                                       ds
                                                                                       aos
                                                                                         c
                                                                                         u
                                                                                         i
                                                                                         f
                                                                                         imt
                                                                                          ee.
                                                                                           lnt
                                                                                            assa
                                                                                               wv
                                                                                                tu
                                                                                                 xit
                                                                                                   umef
                                                                                                      ' s'
                                                                                                      !  Hl
                                                                                                         r
                                                                                                         0:pC
                                                                                                            2L
                                                                                                             5E
                                                                                                              5RK
                                                                                                                @SIOAFIFI
                                                                                                                       NC
                                                                                                                        SET                                                  .'.          .
                                                                                                                                                                                          .
                                                                                                                                                                                                             '..
                                                                                                                                                                                                               .  Vl. ;
                                                                                                                                                                                                                    sitt'heu2putl
                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                  l..?
                                                                                                                                                                                                                                     c-
                                                                                                                                                                                                                                     u   '
                                                                                                                                                                                                                                      < ..
                                                                                                                                                                                                                                     .<  y
                                                                                                                                                                                                                                         r.
                                                                                                                                                                                                                                          rK          j s
                                                                                                                                                                                                                                                        .      j
                  3
                  è                         .loqtlao*  tNeLelter'fxw
                                                    ...r           .t     5FxpsessFmelapa'mustweigh8(q.
                                                                    ha1J1)1                           .
                                                                                                       c;1t                             ..                                        .   . '                    I          aj()ut()tjrPf*
                                                                                                                                                                                                                                     1r
                                                                                                                                                                                                                                      !oy.m.''o
                                                                                                                                                                                                                                              <. -                                   jj
                                                                                                                                                                                                                                                                                      .1
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                       ;
                  .
                  t .                        t
                                             1
                                             P5Eypr
                                                  essrnve
                                                        .
                                                        l
                                                        -sw.
                                                           el
                                                            ghi
                                                              pgmvr
                                                                  et
                                                                   han8oz
                                                                        -wllb
                                                                            .e
                                                                             bi
                                                                              le
                                                                               dWw.el
                                                                                    ght
                                                                                      :.
                                                                                       '                                                                    . .'         .   . ' . ' 1. .                                                I!j:..-..E
                                                                                                                                                                                                                                         ,        Y ....
                                                                                                                                                                                                                                                       .a
                                                                                                                                                                                                                                                        .:-
                                                                                                                                                                                                                                                          x....j,1
                                                                                                                                                                                                                                                                 . .
                  l                 ' hlotû:Expçesslvtlepe:zwçtMçqtommtnded(BîGtyîprrlerttqoftlectîolkcoj                                                                                                     .     '                                                       '            .        '
                   1.                       c
                                            ôt
                                             rmft
                                                aasln
                                                    bîr
                                                      elg
                                                        lusie
                                                            vr
                                                             ali  vteperson.alInfarm'etilmorllre.akableitefrls.Donilsendpi p p.
                                                               etni                                                                 '                                 .                       >'.            1                               .7 ,.         .            .
                  ))
                   j                . .                          ..' .. ..                                               jp
                                                                                                                          ' .# . ..%
                                                                                                                                   .4
                                                                                                                                    ..l                              -' .                 .
                                                                                                                                                                                                             .
                                                                                                                                                                                                             '.
                                                                                                                                                                                                              j.                             .. .              .        ..               '.
                                                                                                                                                                                                                                                                                                  . .
                                                                                                                                                                                                                                                                                                    .
              .   )                                  .
                                                                   . .                                                , g             o .                                                                     ;
                                                                                                                                                                                                              '                              w.q.. .   .v
                                                                                                                                                                                                                                                                                ''
                  Ij                          .
                                              .      .                                                                            4. * 4
                                                                                                                                  J                                                                           1                              ,             .
                            .                                                                                                       +                                                                                                             .                                           '
                  t                                                                                                   '@                        6           .                                     ''          1                              .                                                        '
                  j
                  j     .
                               .         .
                                                                                                                      ,'              .
                                                                                                                                                    '                                 '                       j
                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                                                  '

                                                                                                                                                                                                                        . .         ).                                               .        .       '
                  J
                  ;
                  '                 '
                                        '                                                                                 t                                                                                   I'               '
                                                                                                                                                                                                                               ''
                                                                                                                                                                                                                                  '                                     .                ..
                  1                                                                                                       ;                                                                                   '.                                                                .
                  1                                                                                                       '       .                                                                           !                                                                                   .'
        .
              '   t
                  $
                  .         .                                                                                         '.                                                                                      j
                                                                                                                                                                                                              l                                                         .                '            .
                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                      .'
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                       '
              ?l                                                                                                              J::LLING'P'P                                            '             '         ' ''                                                                                    .
                  :
        . .
                  , h;k
                      ; '
                  ! .d.
                     x4e > . .' .
                                                                                                                          ..
                                                                                                                                                             1
                                                                                                                                                                                                    .
                                                                                                                                                                                                    . -. I
                                                                                                                                                                                                           )                  . ...'
                                                                                                                                                                                                                                     -,. o'
                                                                                                                                                                                                                                                       .           ..
                  . 44                                                                                                    '. .      '                        '; '                 '                                   .      .
              ).  y t ,':k. ...
                     .s
                       z 1..          - ..                    ,.                   .
                                                                                       . ..               .          .       .
                                                                                                                                                                               ,,.j,,rry.
                                                                                                                                                                                        ,.j,,
                                                                                                                                                                                        .        usj,aqj,sl
                                                                                                                                                                                           k.,,,q.,         tlrey),
                                                                                                                                                                                                                  an.
                                                                                                                                                                                                                    j
                                                                                                                                                                                                                    .(
                                                                                                                                                                                                                     )(
                                                                                                                                                                                                                      )jr
                                                                                                                                                                                                                        ear
                                                                                                                                                                                                                          s,-
                                                                                                                                                                                                                            =T
                                                                                                                                                                                                                             r;
                                                                                                                                                                                                                              -' 'jgs.tjgs . . I .
                                                                                                                                                                                                                               ..I
                                                                                                      .                                                                      In.
                  ' 8
                    -.: . !         .      .                 .               g. re
                                                                                 Jœ
                                                                                  .
                                                                                  o
                                                                                   rm -
                                                                                   -
                                                                                      çr==.-                                .
                                                                                                                                                                             .                    -.,m<.=.a.
                                                                                                                                                                                                           l.,ao jc. ;               ' * .
                          #'.'' -auo - -xarep- -ue u-- flo t,rahii4-a-u l *. 'i'. ...             ' '..u.     m..-w.wtanuspsqéûwayxrc nvv.                                                                                                    ) ..                  '.                   '
                  $    , ' > meeae- w- ''''cmksdr- eeiat-'cu         :* (am- -G éw w..,è;xajxawta- x-wmeeww,v . .'.,   '.... wyiskmx ayauxu.-                                                                                                 ..
              t             ..                                                                           .        .                                                                                                                            ..                                             . .
              jj.v                                                                                                                          .                                                                          .                                                                       Nw
